Case 2:13-cv-00160-NT Document 70 Filed 09/30/13 Page 1 of 2               PageID #: 1236



                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MAINE


                                                                Docket No. 13-CV-160-NT


JL POWELL LLC AND                      )
JL POWELL CLOTHING LLC,                )
                                       )
                        Plaintiffs     )
                                       )
                  v.                   )
                                       )
JOSHUA L. POWELL, INDIVIDUALLY AND )
d/b/a THE FIELD, THE FIELD OUTFITTING, )
AND THE FIELD OUTFITTING COMPANY, )
                                       )
                        Defendant      )


                      MOTION TO WITHDRAW APPEARANCE
                           OF NICOLE L. BRADICK

       Pursuant to Local Rule 83.2(c), I request that the Court withdraw my appearance as

counsel for JL Powell LLC and JL Powell Clothing LLC in the above action for the following

reasons.

       Effective, October 1, 2013, I will cease employment as an attorney at Murray Plumb &

Murray. JL Powell LLC and JL Powell Clothing LLC continue to be represented by Thomas C.

Newman and Richard L. O’Meara of Murray Plumb & Murray, both of whom are already

registered in this matter in the CF/ECF system. Therefore, the interests of JL Powell LLC and

JL Powell Clothing LLC will not be adversely affected by my withdrawal.

       Accordingly, the undersigned requests that the Court withdraw my appearance as

counsel for JL Powell LLC and JL Powell Clothing LLC in the above matter.
Case 2:13-cv-00160-NT Document 70 Filed 09/30/13 Page 2 of 2                    PageID #: 1237



Dated: September 30, 2013
                                                     /s/ Nicole L. Bradick
                                                     Nicole L. Bradick

MURRAY, PLUMB & MURRAY
75 Pearl Street, P.O. Box 9785
Portland, Maine 04104-5085
(207) 773-5651


                               CERTIFICATE OF SERVICE

       I certify that on this date I filed the foregoing Motion to Withdraw Appearance of

Nicole L. Bradick with the Clerk of Court using the CM/ECF system which will send

notification of such filing and serve a copy electronically on all parties of record.


                                                     /s/ Nicole L. Bradick
                                                     Nicole L. Bradick
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